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UNITED STATES OF AMERICA, )
)
wanting )
)
VS. ) No. 93-]0052-03-T
)
ROBERT HENRY BRUCE, )
)
Defendant. )

 

ORDER DENYING MOTION TO RECONSIDER

 

On July 21, 2005, defendant Robert Henry Bruce, Bureau of Prisons inmate
registration number 03002-033, an inmate at the United States Penitentiary in Atlanta,
Georgia, filed a motion in this closed criminal case styled “Motion Request to Answer
Question As To a Defect In the Proceedings.” Bruce contended that, although the United
States did not ultimately seek the death penalty, he Was indicted and tried for a capital crime.
Therefore, he argues that the Court should have appointed two attorneys to represent him
in accordance With 18 U.S.C. § 3005. The Court issued an order denying the motion on July
22, 2005.

In the July 22 order, the Court held that it had no authority to consider Bruce’s claim.
The judgment in this case Was final over eight years ago, and a subsequent motion filed
pursuant to 28 U.S.C. § 2255 Was denied United States v. Bruce, No. 98-1073 (W.D. Tenn.

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Nov. 18, 1998), certl ofappealabilig) denied (6“‘ Cir. Nov. 15, 1999). The Court also noted
that Bruce did not specifically file the present motion under § 2255 and declined to construe
it as such.

On August 49 2005, Bruce filed a motion to reconsider, arguing that under the
authority of Gonzales v. Crosby, 125 S. Ct. 2641 (2005), this Court has the authority to
consider his motion. In Gonzales, the Supreme Court explained the circumstances under
which a motion filed pursuant to Federal Rule of Civil Procedure 60(b) should be construed
as a second or successive habeas petition However, Bruce did not file a Rule 60(b) motion
in his closed § 2255 case. He filed only an irregular motion in his closed criminal case.

Even if Bruce had filed his motion as a Rule 60(b) motion in his prior § 2255 case,
under the guidelines set out in Gonzales it clearly raises a new claim for relief from his
conviction that this Court may not consider unless permission is obtained from the Court of
Appeals. 125 S. Ct. at 2648. Therefore, the motion to reconsider is DENIED.

At the conclusion of his motion to reconsider, Bruce asserts: “If the court declines
the above a transfer of this Motion, Request for Counsel Motion and Reconsideration be
transferred to the Sixth Circuit, for an Appeal Notice.” This statement does not make it clear
whether Bruce seeks transfer of this case to the Sixth Circuit as a second or successive
§ 2255 motion or Whether he is merely stating his intent to file a notice of appeal if his
motion is denied. Therefore, the Court again declines to transfer this action to the Court of

Appeals.

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ln order to properly raise this or any other new issue challenging his conviction,
Bruce should file, directly with the Sixth Circuit Court of Appeals, a motion seeking leave
to file a second or successive §2255 motion.

The Court finds that no reasonable jurist could disagree that this Court is without
authority to consider defendant’s claim. Therefore, it is CERTIFIED, pursuant to Federal
Rule of Appellate Procedure 24(a), that any in forma pauperis appeal of the denial of
defendant’s “Motion Request to Answer Question As To a Defect In the Proceedings” and
Motion to Reconsider, would not be taken in good faith.

IT IS SO ORDERED.

C@Am/AAM

JAME ’ .ToDD
uNlTE sTATEs DISTRICT JUDGE

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DATE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 720 in
case 1:93-CR-10052 was distributed by faX, mail, or direct printing on
August 59 2005 to the parties listed.

 

Robert H. Bruce
U.S.P.

03002-033
P.O.Box150160
Atlanta, GA 30315

Honorable J ames Todd
US DISTRICT COURT

